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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF OHIO
                                   WESTERN DIVISION

                                                     )
 PLANNED PARENTHOOD SOUTHWEST                        )
 OHIO REGION, et al.,                                )
                                                     )
                              Plaintiffs,            )
                                                     )       Case No. 1:19-cv-00118
                   v.                                )       JUDGE MICHAEL R. BARRETT
                                                     )
DAVID YOST, in his official capacity as
                                                     )
Attorney General of the State of Ohio, et al..
                                                     )
                                                     )
                              Defendants.
                                                     )
                                                     )
                                                     )
                                                     )




                            ORDER GRANTING JOINT MOTION
                                 TO STAY DISCOVERY

       The Court, having considered the parties’ Joint Motion to Stay Discovery (Doc. 61)

pending issuance of a decision by the United States Court of Appeals for the Sixth Circuit in

EMW Women’s Surgical Center, et al. v. Adam Meier, et al., No. 19-5516, hereby ORDERS that

the motion is GRANTED, subject to the following conditions.

       The Plaintiffs agree to respond to the Requests for Production of Documents propounded

by the Defendants on April 1, 2019, and to supplement their responses in the normal manner

pursuant to Rule 26(e) of the Federal Rules of Civil Procedure. The parties agree that no

additional discovery, either written discovery or depositions, will be requested during the stay.




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        The parties also agree that the stay may be lifted if both Parties agree, and also agree that

the stay may be lifted in the following circumstances, if either Party petitions the Court and

shows good cause, which either Party may oppose:

        (1) the Sixth Circuit has not issued a decision in EMW Women’s Surgical Center by

February 15, 2020;

        (2) the Supreme Court grants certiorari in EMW Women’s Surgical Ctr., P.S.C. v. Meier,

373 F. Supp. 3d 807 (W.D. Ky. 2019), appeal filed, No. 19-5516 (6th Cir. May 15, 2019); West

Ala. Women’s Ctr. v. Williamson, 900 F.3d 1310 (11th Cir. 2018), petition for cert. filed, No. 18-

837 (U.S. Dec. 20, 2018); Hopkins v. Jegley, 267 F. Supp. 3d 1024 (E.D. Ark. 2017), appeal

filed, No. 17-2879 (8th Cir. Aug. 28, 2017); or Whole Woman’s Health v. Paxton, 280 F. Supp.

3d 938 (W.D. Tex. 2017), appeal filed, No. 17-51060 (5th Cir. Dec. 1, 2017), or any other case

involving the regulation of abortion;

        (3) this Court modifies the terms of the current preliminary injunction (ECF No. 49); or

        (4) either the Supreme Court or the Sixth Circuit issues a decision that justifies resuming

the active litigation of this case.

        Within fourteen days of the Sixth Circuit deciding EMW Women’s Surgical Center, et al.

v. Adam Meier, No. 19-5516, the parties will contact this Court to schedule a status conference

so a new calendar order can be entered.

        IT IS SO ORDERED.

                                                       s/ Michael R. Barrett
                                                       Michael R. Barrett, Judge
                                                       United States District Court
